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                        CDJ
                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ARKADY RAYZ, on behalf of himself and all
others similarly situated,
                                                     Class Action Complaint
                        Plaintiff,

        v.

PROGRESSNE AD SOLUTIONS, LLC;
PHOENIX LEGAL GROUP LLC; and DOES                                     '14         714'7
1 through 10, inclusive,                             Civil Action N o . - - - - - - - - -

                        Defendants.


       Plaintiff ARKADY RAYZ ("Plaintiff'), on behalf of himself and all others similarly

situated, alleges as follows:

                                      I.   INTRODUCTION

        1.       This is an action for damages brought by Plaintiff, a consumer, pursuant to the

Telephone Consumer Protection Act of 1991("TCPA"),47 U.S.C. § 227 et al.

       2.        In effectuating the TCP A, Congress sought to limit the tactics a debt collector

could use. In particular, Congress sought to eliminate the use of inappropriate calls by debt

collectors to harass, embarrass, and berate debtors into paying outstanding debts owed.

       3.       Despite these plain truths, Defendants (defined herein) placed numerous

unwanted phone calls, using an automatic dialing system, to Plaintiffs cellular phone.

Moreover, and as explained more fully below, Plaintiff and the members of the class he seeks to

represent had no prior business relationship with any of the Defendants.

       4.       Upon information and belief, Defendants use these very same tactics across the

country against hundreds, if not thousands, of individuals who, not withstanding Defendants'




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actions, otherwise fall within the ambit of the protections of the TCPA.

       5.      Absent this action, Defendants' inappropriate tactics would continue unabated.

                                     II.    THE PARTIES

       6.      Plaintiff is an adult individual citizen of the Commonwealth of Pennsylvania,

licensed attorney, and member of this Court. Plaintiff resides in Montgomery County.

       7.      Plaintiff is a statutorily protected individual who falls within the ambit of the

protections of the TCP A.

       8.      Defendant PROGRESSIVE AD SOLUTIONS, LLC ("Progressive Ad") is a

business entity that regularly conducts business in the Eastern District of Pennsylvania, and is

engaged in the business of debt collection within the Commonwealth of Pennsylvania.

       9.      Upon information and belief, Defendant Progressive Ad is organized under the

laws of the State of Ohio and its principal place of business is located at 961 Springhill Ct.,

Brunswick, OH 44212.

       10.     Defendant PHOENIX LEGAL GROUP LLC ("Phoenix Legal") is a business

entity that regularly conducts business in the Eastern District of Pennsylvania, and is engaged in

the business of debt collection within the Commonwealth of Pennsylvania.

       11.    Upon information and belief, Defendant Phoenix Legal is organized under the

laws of the State of New Jersey and its principal place of business is located at 125 Half Mile

Road, Suite 200, Red Bank, NJ 07701.

       12.    Plaintiff is unaware of the names and capacities of those defendants sued as

DOES 1 through 10, but will seek leave to amend this complaint once their identities     b~come


known to Plaintiff. Upon information and belief, Plaintiff alleges that at all relevant times each

defendant, including the DOE defendants 1 through 10, was the officer, director, employee,




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agent, representative, alter ego, or co-conspirator of each of the other defendants, and in

engaging in the conduct alleged herein was in the course and scope of and in furtherance of such

relationship.

        13.     Unless otherwise specified, Plaintiff will refer to all defendants collectively as

"Defendants" and each allegation pertains to each Defendant.

        14.     At all times material hereto, Defendants acted and/or failed to act in person and/or

through duly authorized agents, servants, workmen, and/or employees, acting within the scope

and course of their authority and/or employment for and/or on behalf of Defendants.

                             III.    JURISDICTION AND VENUE

       15.      This Honorable Court has jurisdiction pursuant to 28 U.S.C. § 1337.

       16.      The Eastern District of Pennsylvania is the proper venue for this litigation,

because:

                a.     Plaintiff is a resident of the Eastern District of Pennsylvania and

                       Defendants' wrongful conduct was directed to and was undertaken within

                       the territory of the Eastern District of Pennsylvania; and

                b.     Defendants conduct a substantial portion of their business in the Eastern

                       District of Pennsylvania.

                             IV.    CLASS ACTION ALLEGATIONS

       17.      Plaintiff brings this action on behalf of himself and a class of similarly-situated

individuals pursuant to Fed.R.Civ.P. 23.

       18.      Plaintiff brings this action as a nationwide class action for Defendants' violations

of the TCP A on behalf of the following class of individuals: All natural persons in the United

States, who received one or more telephone calls from Defendants on the individual's cellular




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telephone that was initiated using an automatic telephone dialing system, who had no prior

business relationship with Defendants (the "Class").

        19.    The number of individuals in the Class is so numerous that joinder of all members

is impracticable. The exact number of members of in the Class can be determined by reviewing

Defendants' records. Plaintiff is informed and believes and thereon alleges that there are over a

hundred individuals in the defined Class.

       20.     Plaintiff will fairly and adequately protect the interests of the Class, and has

retained counsel that is experienced and competent in class action and complex consumer

litigation. Plaintiff has no interests that are contrary to, or in conflict with, members of the Class.

       21.     A class action suit, such as the instant one, is superior to other available means for

fair and efficient adjudication of this lawsuit. The damages suffered by individual members of

the Class may be relatively small when compared to the expense and burden of litigation, making

it virtually impossible for members of the Class to individually seek redress for the wrongs done

to them.

       22.     A class action is, therefore, superior to other available methods for the fair and

efficient adjudication of the controversy. Further, absent these actions, members of the Class

likely will not obtain redress of their injuries, and Defendants will retain the proceeds of their

violations of the TCP A. In addition, Defendants are likely to continue to violate this statute.

       23.     Furthermore, even if any member of the Class could afford individual litigation

against Defendants, it would be unduly burdensome to the judicial system. Concentrating this

litigation in one forum will promote judicial economy and parity among the claims of individual

members of the Class and provide for judicial consistency.

       24.     There is a well-defined community of interest in the questions of law and fact




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affecting the Class as a whole. The questions of law and fact common to the Class predominate

over any questions affecting solely individual members of the action. Among the common

questions of law and fact are:

               a.      Whether Defendants had a prior business relationship with Plaintiff and

                       members of the Class;

               b.      Whether Defendants contacted Plaintiff and members of the Class on their

                       cellular telephones;

               c.      Whether Defendants contacted Plaintiff and Class members on their

                       cellular telephones using an auto-dialer system even though Defendants

                       had no prior business relationship with such individuals; and

               d.     Whether Plaintiff and the members of the Classes have sustained damages

                       and, if so, the proper measure of damages.

       25.     Plaintiffs claims are typical of the claims of members of the Class. Plaintiff and

members of the Class have sustained damages arising out the same wrongful and uniform

practices of Defendants.

       26.     Plaintiff knows of no difficulty that will be encountered in the management of this

litigation that would preclude its continued maintenance.

                                 V.   STATEMENT OF CLAIMS

Defendants' Inappropriate Attempts To Contact Plaintiff

       27.     Upon information and belief, Defendants' business model and practices are

predicated solicitation and marketing of debt relief, including (but, not limited to) loan

modification and bankruptcy-related services.

       28.     Consequently, Defendants have no prior business relationship with either Plaintiff




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or members of the Class.

         29.   Plaintiff is a licensed attorney, and a founding partner of the law firm Kalikhman

& Rayz, LLC. Plaintiff has maintained the same permanent residence address for almost two

years.

         30.   As an attorney, Plaintiff is well versed in the requirements of the TCPA, and

privacy laws in general.

         31.   Accordingly, m November 2013, Plaintiff registered his cell phone on the

National "Do Not Call" list.

         32.   Despite these facts, Plaintiff began receiving phone calls from Defendants in

May, 2014. These calls were made to his registered cell phone.

         33.   On May 28, 2014, Plaintiff received a call from 612-351-3173, at approximately

3:52 p.m. Not recognizing this number, Plaintiff did not answer his cell phone.

         34.   On May 30, 2014, at approximately 2:21 p.m., Plaintiff again received a phone

call from 612-351-3173. Curious as to who was calling him, Plaintiff answered his cell phone.

Hearing the beginning of a pre-recorded message, Plaintiff hung up after a few seconds.

         35.   Upon information and belief, due to the pre-recorded message, Plaintiff believes

that Defendants were contacting him using an auto-dialer system.

         36.   Almost immediately after hanging up, Plaintiff received another phone call on his

cell from the above-referenced number. Seeking to end these harassing and troublesome calls,

Plaintiff answered his phone with the intention of speaking to someone after the pre-recorded

message ended.

         37.   After answering several automated questions, Plaintiff was connected to "Dave

Mahajan," an individual who identified himself as calling from Progressive Ad. Mr. Mahajan




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indicated that he was calling from New Jersey and that Progressive Ad was a

marketing/enrollment company that works for Phoenix Legal.

       38.     During the call, Mr. Mahajan inquired about Plaintiffs debt, which Plaintiff

indicated that he may have some medical debt, but had no prior business dealings with

Progressive Ad or Phoenix Legal. Mr. Mahajan indicated that the debt issue may be worked out

and that Plaintiff would be working with Michelle Watson, their attorney in Pennsylvania to

rectify Plaintiffs "debt."

       39.     Plaintiff indicated that he would have to compile his medical bills together and

would call Mr. Mahajan back, ifhe was interested.

       40.     After providing his phone number, 888-825-3960, ext. 123, Mr. Mahajan hung

up.

       41.     On June 3, 2014, Plaintiff received a phone call on his cell phone from 732-554-

4045, at approximately 7:42 p.m. It was Mr. Mahajan, who had previously called him from

Progressive Ad. Mr. Mahajan again identified himself as calling from Progressive Ad.

       42.     During the call, Plaintiff inquired as to how Mr. Mahajan got his number. In

response, Mr. Mahajan stated that Progressive Ad had it from the previous conversation.

       43.     Based on this statement, Plaintiff again believed that he was the subject of calls

emanating from an auto-dialer. Incensed, Plaintiff requested that Mr. Mahajan and anyone from

his company not call him again. Plaintiff then promptly hung up his cell phone.

       44.     Immediately thereafter, Plaintiff again received a call from 732-982-8270. It was

again Mr. Mahajan, who told Plaintiff in a harsh tone that Plaintiff was "uninformed" and that

Plaintiffs debt was not going away. Plaintiff again told Mr. Mahajan not to call him again and

hung up the phone.




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       45.     Less than a minute after hanging up the phone, Plaintiff again received a call from

732-982-8270. Plaintiff answered and immediately hung up. Nevertheless, Plaintiff noted that

this was the same phone number which Mr. Mahajan had just called him from.

       46.     The following day, at approximately 2:27 p.m., Plaintiff received another call on

his cell phone from 732-982-8270. Answering his phone, the individual identified himself as

"David Mahajan" from Progressive Ad Solutions.

       47.     Mr. Mahajan asked if Plaintiff had his bills "in order'' for review. When Plaintiff

reminded Mr. Mahajan that yesterday he told him not to call him again, Mr. Mahajan responded

that he thought Plaintiff was "just having a bad day."

       48.     Plaintiff again told David not to call him again.     In response, David sneered

"What are you going to do about the debt? You have no course of action. That's pathetic."

Plaintiff was taken aback by the demeaning and hurtful tone. Plaintiff again stated that he did

not;want to be called anymore and hung up. 1

       49.     Despite Plaintiffs repeated attempts to have Defendants cease their unsoliciated

contact with him, it appears that Defendants show no intention of honoring Plaintiffs repeated

requests to have them stop contacting him.

       50.     Indeed, on Friday, December 5, 2014, Plaintiff received a call on his cell phone

from 720-549-7502.

       51.     Not recognizing the number, Plaintiff answered his cell phone.       After a brief

pause, Plaintiff was then connected to an individual who identified himself as "Quientin" and

said he was calling from Progressive Ad. He said that he was offering debt relief services.

       52.     Exacerbated, Plaintiff hung up his cell phone.


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 Should discovery determine it necessary, Plaintiff will seek leave to amend to add David
Mahajan as an individually named defendant.


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       53.     As noted above, Plaintiff believes that an automatic telephone dialing system was

used for each call due to, inter alia, the customary delay at the beginning of each call before

Plaintiff was able to speak with a live operator.

       54.     Because the calls were on Plaintiffs personal cell phone, and not his business

line, the calls could only have been personal in nature.

       55.     Before he began to receiving the phone calls from 732-554-4045, 732-982-8270,

612-351-3173, 720-549-7502, Plaintiff had no contact or any interactions with the Defendants.

       56.     Upon information and belief, Plaintiffs experience with Defendants is typical of

Defendants' business operations.

Defendants' Violations of the TCPA At Issue

       57.     At all times relevant hereto, Defendants used, controlled and or operated an

"automatic telephone dialing systems," as defined by 47 U.S.C. § 227(a)(l).

       58.     Defendants initiated multiple telephone calls to Plaintiff and TCP A Class

members' cellular telephone lines using an automatic telephone dialing system.

       59.     No exemption applies to Defendants' conduct, as Plaintiff and members of the

TCP A Class had no prior business relationship with Defendants.

       60.     Evincing the egregious nature of Defendants' behavior, Defendants' initiated

multiple telephone calls to Plaintiff, using their automatic telephone dialing system, even after

Plaintiff explicitly instructed Defendants not to call him again.

       61.     The Third Circuit has recently determined that an individual or entity can be held

liable under the TCPA for using. an automated telephone dialing system to call a consumer's

cellular phone after the consumer asked not to be contacted. See Gager v. Dell Financial

Services, LLC, 727 F.3d 265 (3rd Cir. 2013).




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        62.     The acts and or omissions of Defendants were done willfully and knowingly,

absent bona fide error, lawful right, legal defense, justification, or legal excuse.

        63.     Accordingly, Plaintiff and members of the TCPA Class have suffered statutory

damages due to Defendants' repeated and ongoing violations of the TCP A.

        64.     As described herein, Defendants' actions violated the applicable provisions of the

TCPA.

        65.     Defendants' conduct, as alleged herein, is (and was) deliberate, intentional,

reckless, willful, and wanton.

        66.     Defendants' conduct, as alleged herein, is unfair, misleading, deceptive, and

unconscionable.

        67.     Plaintiff and members of the Class have been (and will continue to be) financially

damaged due to Defendants' conduct, as set forth herein.

        68.     Plaintiff and members of the Class have suffered and will continue to suffer

damages due to Defendants' conduct, as set forth herein.

                                          COUNT I
                                   VIOLATIONS OF THE TCPA

        69.     Plaintiff hereby incorporates all facts and allegations of this document by

reference, as if fully set forth at length herein.

        70.     At all times relevant hereto, Defendants used, controlled and or operated an

"automatic telephone dialing systems," as defined by 47 U.S.C. § 227(a)(l).

        71.     Defendants initiated multiple telephone calls to Plaintiff and TCPA Class

members' cellular telephone lines using an automatic telephone dialing system. 47 U.S.C. §

227(b)(l)(A)(iii). These calls were made despite Plaintiff and TCPA Class members having no

prior business relationship with Defendants.



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                72.    Accordingly, no exemption applies to Defendants' conduct.

                73.    The acts and or omissions of Defendants were done willfully and knowingly,

        absent bona fide error, lawful right, legal defense, justification, or legal excuse.

                74.    In relevant part, the TCPA provides:

                       A person or entity may, if otherwise permitted by the laws or rules
                       of court of a State, bring in an appropriate court of that State-

                       (A)     an action based on a violation of this subsection or the
                       regulations prescribed under this subsection to enjoin such
                       violation,

                       (B)     an action to recover for actual monetary loss from such a
                       violation, or to receive $500 in damages for each such violation,
                       whichever is greater, or

                       (C)       both such actions.

                       If the court finds that the defendant willfully or knowingly violated
                       this subsection or the regulations prescribed under this subsection,
                       the court may, in its discretion, increase the amount of the award to
                       an amount equal to not more than 3 times the amount available
                       under subparagraph (B) of this paragraph.

        47 u.s.c. § 227(b)(3).

               75.     As a result of the above violations of the TCPA, Defendants are liable to Plaintiff,

        and the members of the TCP A Class in the sum of statutory damages, actual damages, and treble

        damages.

                                           VI.    CLAIM FOR RELIEF

               WHEREFORE, Plaintiff respectfully prays for:

                       (a)       A Declaration that Defendants have violated the applicable provisions of

        the TCPA;

                       (b)       An Order designating this action as a class action pursuant to Federal Rule

        of Civil Procedure 23;



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              (c)     An Order appointing Plaintiff and his counsel to represent the Class;

              (d)     An Order enjoining Defendants from any further violations of the

FDCPA;

              (e)     An Order enjoining Defendants from any further violations of the TCP A;

              (f)     Actual damages;

              (g)     Statutory damages;

              (h)     Treble damages for violations of the TCPA;

              (i)     Attorneys' fees and costs; and

              (j)     Such other relief as the Honorable Court shall deem just and appropriate.

                            VII.    DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury as to all issues so triable.

Date: December 15. 2014                               Respectfully submitted,
                                                      CONNOLLY WELLS & GRAY, LLP



                                                      By:
                                                            Gerald D. Wells, III
                                                            Robert J. Gray
                                                            2200 Renaissance Blvd., Suite 308
                                                            King of Prussia, PA 19406
                                                            Telephone: (610) 822-3700
                                                            Facsimile: (610) 822-3800
                                                            Email: gwells@cwg-law.com
                                                            Email: rgray@cwg-law.com

                                                   Counsel for Plaintiff and the Proposed Class




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 by local rules ofcourt. This form, approved by the Jud1c1al Conference of the Umted States m September 1974, is requrred for the use of the Clerk of Court for the purpose of m1ttatmg
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a)      PLAINTIFFS

RAYZ                                                                                                                                                                                                                                      L
                                                                                                                                                                                                                                               a
       (b)   County of Residence of First Listed Plaintif                                                          County of Residence of First Listed Defendant
                              (EXCEPT IN U.S. PLAIN FF CASES)                                                                              (IN U.S. PLAINTIFF CASE
                                                                                                                           NOTE: IN LAND CONDEMNATION CASES,
                                                                                                                                  LAND INVOLVED.

       (c)   Attorney's (Firm Name, Address, and Telephone Number                                                  Attorneys (If Known)

Connolly Wells & Gray, LLP 2200 Renaissance Blvd., Suite 308
Kin of Prussia, PA 19406
 II.    BASIS OF JURISD ,, TI                            (Place an "X" in One Box Only)               III. CITIZENSHIP OF PRINCIPAL P ARTIES(Place an "X" in One Box for Plaintiff
                                                                                                                (For Diversity Cases Only)                             and One Box for Defendant)
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             Plaintiff                              (U.S. Government Not a Party)                         Citizen of This State           0 I 0 1 Incorporated or Principal Place      0 4      0 4
                                                                                                                                                  of Business In This State

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            Defendant                                                                                                                                                     of Business In Another State
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 IV. NATURE OF SUIT IPlacean"X"inOneBoxOnlvl

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 0 220 Foreclosure             D 442 Employment                         Sentence           0 791 Empl. Ret. Inc.                                     or Defendant)                   0 894 Energy Allocation Act
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                                        Other           ,                                  0 465 Other Immigration                                                                            State Statutes
                               0 440 Other Civil Rights                                              Actions

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 VI. CAUSE OF ACTION                         ~efdescri         tionofcause:
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 VII. REQUESTED IN                        I ill \;HECK IF THIS IS A CLASS ACTION                              DEMAND$                                            CHECK YES only if )llmande\I in complaint:
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 VIII. RELATED CASE(S)    .      .
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                                      Case 2:14-cv-07147-WB Document 1 Filed 12/18/14 Page 14 of 15
                                                                           STATES DISTRICT COURT
                                                                                                                                   14                   7147
FOR THE EASTERN DISTRICT OF PENNSYLVANIA -                        DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assig~ment to appropriate calendar.

AddressofPlaintiff: c/o Connolly Wells & Gray,                       LLP 2200 Renaissance Blvd.,                     Suite 308 King of Prussia,                      PA 19406

AddressofDefendant: 961 Springhill Ct., Brunswick,                            OH 44212

Place of Accident, Incident or Transaction:.:.M.:.::o""n"'t:::.g::i.o=m:::e:.:r'""'y'---'C"'o""u"'n=t..1.v_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning                  ore of its stock?
   (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a))                                    YesD       NolZI


Does this case involve multidistrict litigation possibilities?                                                                    YesD
RELATED CASE, IF ANY:
Case Number: _ _ _ _ _ _ _ _ _ _ _ Judge _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date Terminated:                                      -------"c"""7-----------
Civil cases are deemed related when yes is answered to any of the following questions:

1. ls this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                               YesD NoD
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?                                                                                                            ·
                                                                                                                               YesD      NoD
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
      terminated action in this court?                                                                                           YesD        NoD

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                 YesD          NoD

CIVIL: (Place t/ in ONE CATEGORY ONLY)
A Federal Question Cases:                                                                                B. Diversity Jurisdiction Cases: ·
 1. D Indemnity Contract, Marine Contract, and All Other Contracts                                       1. D Insurance Contract and Other Contracts
 2. D FELA                                                                                               2. D Airplane Personal Injury
 3.    D Jones Act-Personal Injury                                                                       3. D Assault, Defamation
 4. D Antitrust                                                                                          4. D Marine Personal Injury
 5. D Patent                                                                                             5. D Motor Vehicle Personal Injury
 6. D Labor-Management Relations                                                                                                6. D Other Personal Injury (Please
                                                                                                                                specify)
 7. D Civil Rights                                                                                       7. D Products Liability
 8. D Habeas Corpus                                                                                      8. D Products Liability- Asbestos
 9. D Securities Act( s) Cases                                                                           9. D All other Diversity Cases
               ocial Security Review Cases                  ·


(J
                                                                                                                                          (Please specify)
                11 other Federal Question Cases
                leasespecify) Telephone Consumer Protection Act of 1991,                             47 U.S.C.         §   227 et al.
                                                                 ARBITRATION CERTIFICATION




except as noted above.


DATE: _..:::1"'-2.1..../.::.18:::../c...:1""'4.___ _                                                                               88277
                                                                                                                                     Attorney l.D.#
CIV. 609 (6/08)
           Case 2:14-cv-07147-WB Document 1 Filed 12/18/14 Page 15 of 15

              Ct>J        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                       CASE MANAGEMENT TRACK DESIGNATION FORM
 RAYZ                                                                        CIVIL ACTION

                        v.                                                     14            7147
 PROGRESSIVE AD SOLUTIONS, LLC, et al.
                                                                             NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )
(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )
(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )
(e) Special Management- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management-Cases that do no



       12/18/14                                                           Plaintiff
Date                                                                    Attorney for
   (610)    822-3700                                                    gwells@cwg-law.com

Telephone                          FAX Number                           E-Mail Address


(Civ. 660) 10/02




                                                                                          DEC 18 20R'
